Case 2:21-cv-00080-WBV-DPC Document 93-4 Filed 08/10/22 Page 1 of 30

24TH JUDICIAL DISTRICT COURT
PARISH OF JEFFERSON

STATE OF LOUISIANA

Case Number: WARRANT NUMBER:
A-15489-20 A-15489-20

AFFIDAVIT FOR SEARCH AND SEIZURE WARRANT

BEFORE ME, the undersigned Authority of the 24TH JUDICIAL DISTRICT COURT, Parish of
JEFFERSON, State of Louisiana, Keith Dowling , of the Jefferson Parish Sheriff's Office, who,
upon being duly sworn by me, deposes and says that probable cause exists for the issuance of a
search warrant authorizing the search of the patient records for Ej PI, DOB: I/2003, and
that these records should be released regarding the investigation of EM] PI for the violation
of revised statute(s):

No charge at this time

AND THAT a search warrant should be issued for search of the following described
premises:

East Jefferson General Hospital (EJ EMS)
4200 Houma Boulevard

Metairie, LA 70006

WHERE the following described medical records are believed to be located:

* any and all medical records from Ej PIs East Jefferson EMS run-sheet on Sunday,
January 19, 2020

PROBABLE CAUSE IS BASED ON THE FOLLOWING FACTS:

On Sunday, January 19, 2020, the Jefferson Parish Sheriff's Office Homicide Division assumed
investigative responsibility relative to the undetermined death of one ER PHB at 8855 Veterans
Boulevard.

In brief, in the afternoon hours on the aforesaid date deputies from the Jefferson Parish Sheriff's
Office responded to the scene and intervened in a physical altercation between 16 year-old Ei
PIM and his father, Daren Parsa, in the parking lot of Laser Tag. Daren Parsa was repeatedly
struck and bitten by his son, who was ultimately subdued by responding deputies. Thereafter, El
PHI was determined to be non-responsive, prompting intervention in the form of CPR by on
scene deputies and paramedics. Ej PI was then transported by ambulance (EJ EMS) from the
scene to East Jefferson General Hospital where his death was subsequently pronounced. Based on

EXHIBIT Monday, January 20, 2020 23:16

JPSO 002217

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Case 2:21-cv-00080-WBV-DPC Document 93-4 Filed 08/10/22 Page 2 of 30

the severity of his injuries, Daren Parsa relocated to East Jefferson General Hospital by personal
conveyance where he received medical treatment.

Based on these events, Sergeant Keith Dowling respectfully requests for the granting of a search
warrant relative to obtaining the medical records in reference to Ej PI's EMS run-sheet
by East Jefferson EMS on Sunday, January 19, 2020.

AND THAT these records should be returned to Keith Dowling of the Jefferson Parish Sheriff's
Office by mail to 725 Maple Avenue Harvey, LA 70058 or by email to dowling_ke@jpso.com

I hereby certify under oath the facts contained within the Application for this Search Warrant to be
true and correct, under penalties of perjury, so help me God.

lit Dol

Keith Dowling
AFFIANT

THUS DONE AND PASSED on the 20 day of January, 2020 after reading of the whole.

Poul Schade

Paul Schneider
Judge
24TH JUDICIAL DISTRICT COURT

Parish of JEFFERSON
State of Louisiana

Monday, January 20, 2020 23:16
JPSO 002218
Case 2:21-cv-00080-WBV-DPC Document 93-4 Filed 08/10/22 Page 3 of 30

24TH JUDICIAL DISTRICT COURT
PARISH OF JEFFERSON
STATE OF LOUISIANA

CASE NUMBER: WARRANT NUMBER:
A-15489-20 A-15489-20

SEARCH AND SEIZURE WARRANT

AFFIDAVIT HAVING BEEN MADE BEFORE ME BY Keith Dowling , of the Jefferson
Parish Sheriff's Office, believes that probable cause exists for the issuance of a search warrant
authorizing the search of the patient records for Ef PI, DOB: [MNR§/2003, and that these
records should be released regarding the investigation of Ef] PI for the violation of
revised statute(s):

No charge at this time
IT IS ORDERED that the following patient records for Ei] PI, DoB: H/2003:

¢ any and all medical records from Ej PI's East Jefferson EMS run-sheet on Sunday,
January 19, 2020

Which are now being stored or kept at the following location:

East Jefferson General Hospital (EJ EMS)
4200 Houma Boulevard

Metairie, LA 70006

BE RELEASED AND that these records should be returned to Keith Dowling of the Jefferson
Parish Sheriff's Office by mail to 725 Maple Avenue Harvey, LA 70058 or by email to
dowling ke@jpso.com.

YOU ARE HEREBY ORDERED to search forthwith the aforesaid for the property specified
serving this Search and Seizure Warrant and making the search and if the thing(s) specified are
found there, to seize it and hold them in safe custody pending further orders of the court. This
shall be your warrant, whereof you are to make due to return according to law.

Monday, January 20, 2020 23:16
JPSO 002219
Case 2:21-cv-00080-WBV-DPC Document 93-4 Filed 08/10/22 Page 4 of 30

WITNESS my official signature on this 20 day of January, 2020.

Poul, Schwadr

Paul Schneider

24TH JUDICIAL DISTRICT COURT
Parish of JEFFERSON

State of Louisiana

Monday, January 20, 2020 23:16
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